Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 1 of 30

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
SOUTHEASTERN DIVISION

ALIEN TECHNOLOGY CORP., a
Delaware corporation,

Plaintiff, Civil Action No. 3:06-CV-51-RSW-KKK

Vv.

INTERMEC, INC., a Delaware corporation,
INTERMEC TECHNOLOGIES CORP., a
Washington corporation, and INTERMEC IP
CORP., a Delaware corporation,

Judge Rodney S. Webb

Magistrate Judge Karen K. Klein

Defendants.

DEFENDANTS’ REPLY IN SUPPORT
OF THEIR MOTION TO DISMISS
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 2 of 30

TABLE OF AUTHORITIES
INTRODUCTION ...00... cece cccccseeseecssesesecesssesesessesesssesesesesesesssesessasesseeseesesersssesssesesenseesecserensees 1
ARGUMENT ...00.. ccc ceesssesscsssesscssssescsssssesssesseseaesssssssasessseseccsesnsnsnssvseessnesesenseesssceusonsrsecerseneseseoegs 3

A. No ACTUAL CASE IN CONTROVERSY EXISTED AT THE TIME ALIEN FILED ITS
COMPLAINT, .......cccccccccsececececccccecececeeetecsesesevvsvsvssssvsvstststsessssrsssssssessssssesvsssseesssvssseseeuecususeeseneeess 3

1. NO EXPRESS THREAT OF SUIT WAS EVER MADE BY ANY OF THE INTERMEC
DEFENDANTS. ..........ssccccccvessccccvscscceeavscaccssevavcscseeuavscersusvsvsnsvavsseeevescensuscccaesnsesceusensesesensescenees 3

Arrowhead Indus. Water, Inc. v. Ecololab, Inc.,
846 F.2d 731 (Fed. Cir, 1988)... ce cescsssecenecsseccsscesscecsnsecssessseseseeesseessneeneeeeaeees passim

Cerner Corp. v. Visicu, Inc.,
No. 04-1033, 2005 WL 2346987, at *1 (W.D. Mo. Sept. 26, 2005)... eeeeeeeeseeees 5

Mastercard Int'l. Inc. v. Lexcel Solutions, Inc.,
No. 03 Civ. 7157 (WHP), 2004 WL 1368299, at *1 (S.D.N.Y. June 16, 2004)........... 5

Applexion S.A. v. Amalgamated Sugar Co.,
No. 95 C 858, 1995 WL 229049, at *1 (N.D. Ill. April 17, 1995) eee eeseereteeteees 5

Cygnus Therapeutics Systems v. Alza Corp.,
92 F.3d 1153 (Fed. Cir, 1996)... eecsecececscesecesecesessnesenseseseseveneseaeessesssesesenoeseevsneseees 6

Shell Oil Co. v. Amoco Corp,
970 F.2d 885 (Fed. Cir, 1992).....cscscssscsssssesscssssssescsssssssssssssvececssssevsccessnsesessssssessessssueeess 7

West Interactive Corp. v. First Data Resources, Inc.,
972 F.2d 1295 (Fed. Cir. 1992)... eccescssessscesseessecesceeseeeeeeseseesseeeeateeserenees 7, 10, 14

2. VIEWING THE TOTALITY OF THE CIRCUMSTANCES, ALIEN COULD NOT HAVE
HAS AN OBJECTIVELY REASONABLE APPREHENSION OF SUIT. ..........cccessceseeesecnseeeseceeesoeenes 7

Teva Pharmaceuticals USA, Inc. v. Pfizer, Inc.,
395 F.3d 1324 (Fed. Cir. 1995)... cscssssessesecssesecssesesessesesssesessseeessaeeeceeesaesaceaesaseneouse 8

Indium Corp. of America v. Semi-Alloys, Inc.,
781 F.2d 879 (Fed. Cir. 1985)... ccessessscssecceeesseaseeceeesceseeeeseeseesseeseeceseeeseteeserenes 10, 12

Murphy v. Missouri Dept. of Corrections,
372 F.3d 979 (8th Cir, 2004) occ ecesesssseseseccescceecsnscssesseceseceaeeeeseseseaceessnersaceneesasenes 10
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 3 of 30

BP Chems. v. Union Carbide Corp.,

4 F.3d 975 (Fed. Cir, 1993)... cccscsssssssssssessesssessssessssesessesseecseseesesesecsesesecaeeseesseeeecses 10
Phillips Plastics Corp. v. Kato Hatsujou Kabushiki Kaisha,

57 F.3d 1051 (Fed. Cir. 1995)........ccsccsscsssssessessessessesecssesssssecscressessecesseesesseestenses 11,12
EMC vy. Norand Corp.,

89 F.3d 807 (Fed. Cir, 1996)... cecsccssesssssssssssssssssesseseceessessescsesseseesessesteaesesaesneeeses 13

Duratech Indus. Int'l, Inc. v. Bridgeview Mfg., Inc.,
Case No. 3:05-CV-90-RSW (D.N.D. Apr. 21, 2006)........ccccssssscsseseseesesesetseesseessneeess 13

Ivoclar Vivadent, Inc. v. Hasel & ABCO Research LLC,
No. 02cv0316, 2003 WL 21730520, at *1 (W.D.N.Y. June 30, 2003) ........ceeeeseeeeee 13

B. THE INTERMEC DEFENDANTS’ CONTACTS WITH NORTH DAKOTA ARE
INSUFFICIENT TO SUBJECT THEM TO PERSONAL JURISDICTION THERE. .............:sssseseeeeeees 14

1. ALIEN CANNOT IGNORE CORPORATE FORMALITIES IN ITS EFFORT TO CONVINCE
THIS COURT TO EXERCISE PERSONAL JURISDICTION OVER INTERMEC AND IIP. ........... 14

Walker v. Newgent,
583 F.2d 163 (Sth Cir, 1978) oo... ccesccsseccsseccescesseseeesssceacssessecsessecssesessesseessenessesnseaees 15

Canon Mfg. Co. v. Cudahy Packing Co.,
267 U.S. 333 (1925)... eecescssesesecsersececeseececesecasscesceaseessceasaseasseeseesssesseasseeaseeeaeeees 15, 16

Dainippon Screen Mfg. Co., Ltd. v. CFMT, Inc.,
142 F.3d 1266 (Fed. Cir, 1998)... cccccessecsscesceesssesessscsssesessessesssssessscaseeeeeseaeenseaes 15

Epps v. Stewart Info. Svcs. Corp.,
327 F.3d 642 (8th Cir. 2003) 0... escssesesessseesseeeescsseescsecsecseeseeeaeeeesnesesaeseeseseeneereenes 17

Steinke v. Safeco Ins. Co.,
270 F. Supp. 2d 1196 (D. Mont. 2003)... ce essseseesecseceeeescescseeeeeeseesessesseeaeeesenseaeeees 17

2. EVEN ASSUMING THIS COURT IMPUTES ITC’S CONTACT WITH THIS FORUM ON
INTERMEC AND IIP, THOSE CONTACTS ARE INADEQUATE TO ALLOW THE
EXERCISE OF PERSONAL JURISDICTION OVER ANY OF THE INTERMEC
DEFENDANTS, ..........cccccssccccscssscessssssscecccssnceecessussceessetecessseescsessnsescsesuseesessceeecescsseeesneseseases 17

Burger King Corp. v. Rudzewicz,
A71 U.S. 462 (1985)... eecsscsseesseeseesseessessecsnecsecesccseeceeesseeseecsesenssenessesessesesseeenss 18, 19

World-Wide Volkswagen Corp. v. Woodson,
444 U.S. 286 (1980)... ee eccesseeeesssesecsescsssecessesesessessescessenssasseeeeseeseenesseeecaeeesseeees 19, 22

it
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 4 of 30

Ensign v. Bank of Baker,
676 N.W.2d 786 (N.D. 2004) oo. ee eeseeeeeeeseesesceseeecseeesseesseessetsesecsetaeseeatsessrenseneers 19, 24

Stairmaster Sports/Medical Prods., Inc. v. Pacific Fitness Corp.,
916 F. Supp. 1049 (W.D. Wash. 1994), aff'd 78 F.3d 602 (Fed. Cir. 1996).......... 19, 24

McGill Tech. Ltd. v. Gourmet Tech., Inc., et al.,
300 F. Supp. 2d 501 (E.D. Mich, 2004).........ccccsccsssssssessesssssssseesesseesessessesseneeess 19, 24

Hockerson-Halberstadt, Inc. v. Propet USA, Inc.,
62 Fed. Appx. 322 (Fed. Cir, 2003)... .csssessesssecssessesesssesesssessessseecessseseessesseeaesanenses 20

3M Innovative Properties Co. v. InFocus Corp.,
No.Civ.04-0009 JNE/IGL, 2005 WL 361494, at *1 (D. Minn. Feb. 9, 2005)............ 20

Metropolitan Life Ins. Co. v. Robertson-Ceco Corp.,
84 F.3d 560 (2d Cir. 1996)... ecscsessescsssseesessesssseseessensssseesecsesseseeseseecseseesesessesneaeeees 20

Korzyk v. Swank Enterprises, Inc.,
No CV-04-343-AAM, 2005 WL 1378758 (E.D. Wash. June 9, 2005) ......cseeseseeeee 20

a. Sales by independent resellers cannot be a basis for personal jurisdiction
OVEN TT. oe eeeeeeeseceeeeesceeeseeesscecseeesaeesaeesseseaeecsseesaeeeaeesaeseseeseaeeseauceaesesserseessessees 21

Jennings v. AC Hydraulic A/S,
383 F.3d 546 (7th Cir. 2004) 0.0... cessccsceescscessesceseeseeeessesseeserseeeseeaessessesseseesseesserseases 21

Bridgeport Music, Inc. v. Still N The Water Pub.,
327 F.2d 472 (6th Cir. 2003) oe csscssescscsssscetsecessessescsessescsescasseesessessessseeseeeeseeaeeesses 21

Boit v. Gar-Tec Prod., Inc.,
967 F.2d 671 (1st Cir. 1992)... ceesssssccsssessecsessecssessecsuecssesseessscssessuesecseenesnsesesenteess 21

Falkirk Mining Co. v. Japan Steel Works, Ltd.,
906 F.2d 369 (8th Cir, 1990) oo. eeeseceseesereeseeeseeeesecseeaeeecseeseeaeeeseeesesatsenaverseeeneness 22

b. ITC’s Former Relationship with Microsoft Business Solutions is
Trrelevannt. 0.0.0... eee escesccseseneencesecscesscnecasesceacseesassccssesassaecaeeseeseesaseassaseasaenesensensenes 24

Black & Veatch Const., Inc. v. ABB Generation, Inc.,
123 F. Supp. 2d 569 (D. Kan) 2000)... eeesesssceseeeeeceeeeeesseeseeseneessesseeseseeeeseeesssseees 24

C. SINCE ALIEN’S COMPLAINT FAILED To IDENTIFY SPECIFIC PRODUCTS THAT

ALIEN BELIEVES ARE ACCUSED OF HAVING INFRINGED IIP’S PATENTS, ALIEN’S
COMPLAINT MUST BE DISMISSED PURSUANT TO RULE 8(A). ........::cccsessccsssscsssescesneverseeesenes 25

iti
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 5 of 30

INTRODUCTION

In response to the Intermec Defendant’s Motion to Dismiss, Alien has filed a lengthy
brief with hundreds of pages of affidavits and attached exhibits. None of the legal arguments
Alien makes nor any of the supporting materials it relies on — which largely consist of irrelevant
material and/or hearsay statements — support a conclusion that this Court has subject matter
jurisdiction over this case, personal jurisdiction over the Defendants or that Alien has complied
with FED.R.CIv.P. 8(a).

Alien has failed to meet its burden of proving that this Court has subject matter
jurisdiction. In this regard, Alien has not shown that Intermec, Inc. (“Intermec”), Intermec
Technologies Corp. (“ITC”), or Intermec IP Corp. (“IIP”) (collectively “Intermec Defendants”)
ever made an express threat to sue Alien or identified any Alien product as infringing any
Intermec patent. Alien has also failed to present facts that would support a finding that, prior to
the day it filed this suit, there existed a totality of circumstances which gave it a legally
cognizable, objectively reasonable apprehension of suit.

Instead, Alien has submitted affidavits that contain hearsay heaped upon hearsay for the
proposition that years ago some unidentified Intermec representative may have told a potential
customer of Alien that Intermec intended to sue Alien. Ironically, the same affidavits show
Alien didn’t believe the hearsay when it heard it in 2004. And, of course, it was not Intermec
that sued years after these alleged statements were made, but Alien. Alien also relies on
translations, commissioned by one of Alien’s lawyers, of articles written in Korean and intended
for a Korean audience (all hearsay, of course) that discuss whether Intermec’s Korean patents are
being infringed by Korean companies in Korea. Moreover, Alien’s submission shows that these

articles were found on the Internet by Alien’s lawyers four months after this suit was filed and
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 6 of 30

could not possibly have been the basis of a pre-filing apprehension. Likewise, the other
“evidence” that Alien relies on, documents relating to Intermec’s legal participation in standard-
setting activities and two letters to Alien inviting them to discuss licensing, contain no
accusations of infringement and no threats to sue anyone, let alone Alien.

Alien has also failed to meet its burden of proving that this Court has personal
jurisdiction over the Intermec Defendants. Indeed, Alien concedes that personal jurisdiction
does not exist over Intermec and IIP (the owner of the patents and a necessary party) in any
traditional sense, since neither company has any contacts with North Dakota. Alien attempts to
establish that it is possible to find jurisdiction over Intermec and IIP by examining the
relationship of ITC, an affiliated company that sells a minimal amount of product into North
Dakota, and IIP and Intermec. However, Alien ignores the fact that IIP and Intermec are
separate corporate entities from ITC, who along with IIP and Intermec observe all corporate
formalities, have separate officers and directors and their own bank accounts. Alien also ignores
the fact that ITC does not have sufficient contacts with North Dakota to be subject to general
personal jurisdiction there in any case.

Finally, Alien makes no real attempt to counter the Intermec Defendants contention that
the Complaint should be dismissed for failure to comply with FED.R.CIv.P. 8(a). In fact, Alien
states that if the Court determines that it has failed to comply with the rule it should be allowed
to replead. That would be entirely futile since the facts required to establish subject matter and
personal jurisdiction do not exist.

For all the above reasons and those detailed below, Alien’s Complaint should be

dismissed.
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 7 of 30

ARGUMENT

A. No ACTUAL CASE IN CONTROVERSY EXISTED AT THE TIME ALIEN FILED Irs
COMPLAINT.

1. NO EXPRESS THREAT OF SUIT WAS EVER MADE BY ANY OF THE INTERMEC
DEFENDANTS.

In its response brief, Alien makes the contention that Steve Winter’s statements during
the May 8, 2006 conference call amount to an express threat of suit.! Of course, in an effort to
make such a contention Alien has been forced to completely ignore the contemporaneous
statements made by Larry Brady, Intermec’s Chairman, CEO and Mr. Winter’s boss.
Immediately after Mr. Winter’s statement, Mr. Brady said:

I think given the circumstances that we are currently looking at — that is, the
amazing propensity of people to take business well below cost, and the amazing
publicity which such actions receive — that we are apt to move in advance of
where we would have originally intended. And indeed, the limitation on when
we will take action now is more related to just the [wickets] that we have to go
through — that is, [get the] product, and disassemble the product and understand
that infringement is occurring. Because we’ve got a certain obligation, before we
can just go out and willy nilly start filing lawsuits, to demonstrate that there’s a
cause of action. So that is the path that we are currently on.

Earnings Call Tr. at p. 16. Thus, as expressed by the top corporate officer, Intermec had work to
do to determine who, if anyone, was infringing its intellectual property and what could legally be
done about it. In fact, Mr. Brady never says Intermec is going to actually sue anyone, let alone

Alien.

'Mr. Winter stated in response to a question from an investor:

It’s obviously disappointing if any customer were to do business with a supplier that is not
licensed. But you know, we have consistently stated we will be pursuing infringers. We are
putting together cases. We are looking at those who are most disruptive to the industry right now.
And basically, preparations are underway with respect to unlicensed suppliers like Alien and
others. And we expect those enforcement actions by the end of the year, or within this year.

Transcript of the Intermec, Inc. Earnings Conference Call, Dated May 8, 2006 (“Earnings Call Tr.”), attached to the
Declaration of David S. Becker (“Becker Decl.”) as Exhibit C at p. 12.
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 8 of 30

Indeed, even taken alone and out of context as Alien proposes, Mr. Winter’s
statement can not be viewed as an express threat. Distilled to its essence, all that Mr. Winter said
is that Intermec was “putting together cases” and “looking at those who are most disruptive in
the market.” These statements made clear that Mr. Winter, just as Mr. Brady later clarified,
believed that there was still work to be done before Intermec could be sure it could bring a suit
against anyone. While Mr. Winter explained that Intermec was “looking at” “Alien and others,”
his statement was conditional. Contrary to Alien’s assertion, Mr. Winter did not say that
Intermec had determined that Alien was, in fact, infringing any JIP patent. Nor did he say that
Intermec would initiate a suit if Alien was infringing. What he said was that Intermec is
“looking at those who are most disruptive to the industry right now. And basically, preparations
are underway with respect to unlicensed suppliers like Alien and others.” Pursuing infringers
doesn’t automatically require a lawsuit—it might simply involve contacting them to negotiate a
license or to persuade them to stop infringing without recourse to legal action or through the
threat of it. Likewise, preparations in relation to unlicensed suppliers don’t have to be for the
initiation of a lawsuit—they could be for a negotiation.

The case law cited by Alien does not support the proposition that Mr. Winter’s statements
can be considered in a vacuum or that his statement alone could create an objectively reasonable
apprehension of suit. Arrowhead Industrial Water, Inc. v. Ecolochem, Inc., did not reach a
holding based solely on a single statement and was not decided based on the existence of an
express threat of suit. 846 F.2d 731 (Fed. Cir. 1988). That case was a second declaratory
judgment complaint filed by plaintiff after the defendant had obtained dismissal of a previous
complaint. Jd. at 734, 738. The Arrowhead court ultimately determined that the plaintiff had an

objectively reasonable apprehension of suit because the defendant sent letters both directly to the
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 9 of 30

plaintiff and to the plaintiffs customer in which it specifically identified a single patent which it
believed was being infringed. Jd. at 737-8. The court also based its holding on the fact that there
was correspondence between the parties on the issue and that the correspondence made clear that
Arrowhead believed infringement had occurred and identified exactly how the infringement had
occurred. Jd. Even more importantly, in related litigation in another court, defendants had stated
that plaintiff “practice[d] the invention in suit . . . a process that infringes the patent in suit.” Id.
at 734.

The statements made by the defendant in Arrowhead are significantly more direct than
the conditional statements made in a public forum here, and the case involved a history of
litigation between the same parties regarding the same patents. Accordingly, Arrowhead does
not support a finding of subject matter jurisdiction here. Nor do any of the other cases cited by
Alien. See Cerner Corp. v. Visicu, Inc., No. 04-1033, 2005 WL 2346987 (W.D. Mo. Sept. 26,
2005) (defendant sent a letter directly to plaintiff stating that defendant had a specific patent, had
reviewed plaintiff's product offerings, had specific remedies available to it in litigation and that
it thought plaintiff should get an opinion of counsel); Mastercard Int'l. Inc. v. Lexcel Solutions,
Inc., No. 03 Civ. 7157 (WHP), 2004 WL 1368299 (S.D.N.Y. June 16, 2004) (parties were
already involved in related litigation and defendant sent a letter to plaintiff citing both past and
future infringement, stating that it would consider plaintiff's infringement willful and identifying
evidence of the patent’s validity); Applexion S.A. v. Amalgamated Sugar Co., No. 95 C 858,
1995 WL 229049 (N.D. Ill. April 17, 1995) (defendant sent letter to plaintiff accusing defendant
of “infringing most if not each of Claim 1-15 of the ‘866 patent.’’)

None of Alien’s cited cases involve statements remotely analogous to the statements

made at the May 8” earnings call. All of these cases involved direct accusation from the
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 10 of 30

defendant to the plaintiff either in writing or in person. All of them identify the product at issue
and the precise patent being infringed. Two of the cases involved parties that had already
engaged in litigation with each other either involving the same patent or a relationship that
implicated use of the patent. And, all of the cases involved ongoing discussions between the
parties regarding the issue of infringement. No such facts exist here. At the time Alien filed its
suit, Alien and the Intermec Defendants apparently had not had any communication for more
than a year. And, the only evidence Alien presents regarding any communication between the
parties are two letters from Intermec to Alien inviting Alien to participate in a discussion about a
licensing program. Those letters do not make any specific or general statement about
infringement, mention any specific patents, discuss specific products, or, most importantly,
threaten suit. See infra at § A.2.

Alien incorrectly asserts that Cygnus Therapeutics Systems v. Alza Corp., 92 F.3d 1153
(Fed. Cir. 1996), actually supports its position. This is a mischaracterization of the holding in
that case. Putting aside Alien’s mischaracterization, the Cygnus court held that statements made
by a corporate officer in the context of a discussion with investors must be taken in context and it
is only reasonable that a patentee would confirm to its investors that it is fully informed of
developments in the market place and provide assurance of its plan to defend its intellectual
property position. See Cygnus, 92 F.3d at 1159-60. Intermec is a publicly-traded company
whose subsidiary IIP’s patent portfolio bolsters the strength and innovation of ITC’s products
and provides revenue in the form of license payments. It would be irresponsible for its officers,
when asked directly how long it can wait before enforcing its rights, to say anything other than it
is in the process of evaluating whether infringement has occurred and that it will take whatever

action it thinks appropriate (which doesn’t automatically mean filing a lawsuit) once such a
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 11 of 30

determination has been reached. Intermec made no express threat and it crossed no “line” that
would justify Alien filing the lawsuit it did. Intermec simply made a general statement about the
fact that it will, where warranted, take unspecified action in the future. Such a statement has
long been recognized by the law as not being an express threat of suit. See Shell Oil Co. v.
Amoco Corp, 970 F.2d 885, 889 (Fed. Cir. 1992) (statement that declaratory-judgment plaintiff's
activities “fall within” defendant’s patent claims insufficient to create reasonable apprehension
of suit).

Finally, Alien ignores the basic principal that an objectively reasonable apprehension of
suit must be based solely on the facts known to plaintiff prior to filing suit. West Interactive
Corp. v. First Data Resources, Inc., 972 F.2d 1295, 1297 (Fed. Cir. 1992); Arrowhead Indus.
Water, Inc., 846 F.2d at 734 n. 2 (excluding defendant's post-filing letter to plaintiffs customer
from the analysis because “the presence or absence of jurisdiction must be determined on the
facts existing at the time the complaint under consideration was filed”). In its brief, Alien
references a statement made by an Intermec spokesperson after Alien filed suit as a basis for
Alien’s alleged pre-filing objectively reasonable apprehension.” However, in the context of
subject matter jurisdiction in this case, the statement, which isn’t a threat anyway, is simply
irrelevant because it was made after Alien needed to have formed its objectively reasonable

apprehension of suit.

? After Alien filed the present action, Intermec released a statement which said:

Today’s action by Alien Technology is not unexpected. We continue to believe, as we stated
during our last quarterly conference call on May 8, that Alien, among others, makes and sells
products that infringe Intermec RFID patents. We have consistently said we will pursue those
companies that infringe our intellectual property patent estate. We continue our due diligence
related to these matters.
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 12 of 30

2. VIEWING THE TOTALITY OF THE CIRCUMSTANCES, ALIEN COULD NOT HAVE HAD
AN OBJECTIVELY REASONABLE APPREHENSION OF SUIT.

Apparently knowing that it does not have the factual basis for a legitimate claim of
subject matter jurisdiction based on an “express threat,” Alien goes to extensive lengths to
cobble together a totality-of-the-circumstances theory upon which it hopes subject matter
jurisdiction might be based. Alien completely fails. Alien’s declarations and voluminous
exhibits — fraught with factual misstatements and hearsay as they are — do nothing to change the
fact that the Intermec Defendants have never taken any actions, viewed individually or
collectively, that could give rise to an objectively reasonable apprehension of suit on Alien’s
part.

First, Alien, without any legal support, argues that ITC’s participation in the EPC Global
and ISO standard-setting processes gave Alien an objectively reasonable apprehension of suit.
ITC’s actions in this regard cannot give rise to such an apprehension. See Teva Pharmaceuticals
USA, Inc. v. Pfizer, Inc., 395 F.3d 1324 (Fed. Cir. 1995) (rejecting as a basis for an apprehension
of suit a declaratory-judgment defendant’s declaration of patents as part of compliance with FDA
regulations). In Teva, plaintiff argued that Pfizer’s listing of its patent in the Orange Book — a
disclosure requirement imposed by the Hatch-Waxman Amendments which relate to FDA
approval of prescription drugs — was the basis for its objectively reasonable apprehension of suit.
The court stated that, since the listing was made pursuant to an outside agency’s requirement of
disclosure, the “listing requirement should not be construed as a blanket threat to potential
infringers.” Jd. at 1333. The Court noted that the Pfizer’s listing merely indicated that “claims
of infringement ‘could be reasonably asserted,’” and held that “[mJore is required for an actual

controversy than the existence of an adversely held patent.” Jd.
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 13 of 30

ITC’s participation in the industry-wide standard-setting processes of EPC Global and
ISO is closely analogous to the Hatch-Waxman procedure discussed in Teva. EPC Global and
ISO are independent entities that have established procedures for participation in their standard-
setting processes and require certain participating holders of related intellectual property to
declare all patents which the patentee believes contain “Necessary Claims” or “claims that would
be necessarily infringed by implementing the Specification.” See EPC Global - Standards
Development Process (“EPC Standards”), attached to Declaration of Matthew J. Kramer
(“Kramer Decl.”) as Exhibit A, at p. 64, Appendix 2, § 1.7. In accordance with the EPC
Standards, Intermec disclosed certain patents it then believed contained Necessary Claims.
Exhibits C, D, E, F, G, and H to the Declaration of David Aaron (“Aaron Decl.”) are precisely
the declarations required by EPC Global and are in the form outlined by the EPC Standards in
Appendix 7. As the Court held in Teva, such required declarations should not be viewed as a
blanket threat to sue. Such declarations create a more open exchange of information and
encourage legal, industry-wide collaboration. This open exchange promotes innovation that
would otherwise be chilled if each company had to speak more guardedly about their intellectual
property or refrain from participation in the standard-setting process for fear of losing the value
of its intellectual property. This industry participation on the part of Intermec — which did not
involve any assertion by Intermec that any company’s products infringed any particular Intermec
patents or any threat by Intermec to sue anyone, let alone Alien — cannot be used as a basis for
subject matter jurisdiction in this case.

Second, Alien claims an apprehension of suit based on the fact that in 2004 Intermec IP
sued another company, Matrics (which was purchased by Symbol Technologies, Inc. during the

pendency of the suit), for infringement of one of the patents Alien has chosen to include in this
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 14 of 30

case. However, as Alien well knows, the Matrics suit involved a predecessor to the technology at
issue in this case (Gen 1 vs Gen 2) and did not involve the issue of whether Alien’s Gen 2
readers and tags infringed any Intermec patents. Kramer Decl. at ] 3. The law is clear that,
under circumstances such as these, a company’s previous lawsuit against another party cannot be
the basis of an objectively reasonable apprehension of suit by someone in Alien’s position. See
West Interactive Corp., 972 F.2d at 1298 (prior actions against others insufficient to give
reasonable apprehension of suit); Indium Corp. of America v. Semi-Alloys, Inc., 781 F.2d 879,
883 (Fed. Cir. 1985) (same).

Third, Alien has had one of its employees, a Victor Vega, file an affidavit which it claims
supports a finding that in 2004 someone at Intermec indicated to a potential Alien customer that
Intermec intended to sue Alien. Not surprisingly, the declaration of Victor Vega contains no
admissible evidence. Rule 56(e), by its own terms, requires that affidavits “shall be made on
personal knowledge such as would be admissible in evidence.” See also Murphy v. Missouri
Dept. of Corrections, 372 F.3d 979, 982 (8th Cir. 2004). Mr. Vega’s declaration only contains
hearsay and double hearsay. See generally Declaration of Victor Vega (“Vega Decl.”). He
claims that, in 2004, a potential Alien customer told Mr. Vega that an unidentified “Intermec
representative” told the potential customer that “Intermec indicated that it was going to pursue a
patent infringement action against Alien.” Vega Decl. at 4. This statement is a classic example
of double hearsay and cannot be considered by this Court as supporting the proposition that
Intermec actually made any threat of suit. Even if Alien were to claim that this double hearsay is
merely being used to show Alien’s state of mind, and this Court chose to consider the statement
in that context, this purported statement is no basis for an objectively reasonable apprehension of

suit. See BP Chems. v. Union Carbide Corp., 4 F.3d 975, 979 (Fed. Cir. 1993) (“a subjective

10
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 15 of 30

apprehension is insufficient without objective substance”). By June 2006 — two years later — no
suit had been filed by Intermec. The fact that no suit was ever brought is a strong indication that
any 2006 apprehension on Alien’s part, based on a 2004 double-hearsay statement, could not
have been objectively reasonable.

Rather, any such apprehension allegedly based on the 2004 double hearsay would only
indicate that Alien has just the type of “nervous mind” that cannot form grounds for a reasonable
apprehension of suit. See Phillips Plastics Corp. v. Kato Hatsujou Kabushiki Kaisha, 57 F.3d
1051, 1053 (Fed. Cir. 1995) (“more than the nervous state of mind” required). Significantly,
Alien’s employees’ comments in the emails attached to the Vega Declaration demonstrate that
Alien did not even believe the statement when it was allegedly made. See Emails Between Justin
Jose and Victor Vega, attached to Vega Decl. as Exhibit A. Specifically, Mr. Vega, apparently
skeptical himself and acting at the behest of others at Alien, pressed the potential customer for
more details, including information about when the statement was actually made, what was
actually said, and what the position was of the person who said it. Jd. The potential customer
responded and refused to provide any additional detail. Jd. In the final email, Mr. Drzaic — a
Vice President at Alien — was clearly skeptical of this hearsay and referred to the hearsay as
“Intermec’s alleged threats.” Jd. Tellingly, Alien apparently never considered the incident a
basis for a declaratory judgment action in 2004 or 2005. And, there is no evidence that this two-
year-old double hearsay statement was actually considered by Alien in deciding whether or not
to sue in June of 2006. Since it was not set out in either the Complaint or the Amended
Complaint, one can only conclude that this was something that Alien’s lawyers learned of only
after the suit was filed, and have included here as part of an effort to invent subject matter

jurisdiction where none existed on the date the Complaint was filed.

11
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 16 of 30

Fourth, and surely something that both could not have factored into Alien’s pre-suit
thinking and is certainly a result of after-the-fact work by Alien’s lawyers, is the claim that
several articles in a Korean-language technology publication form a basis for subject matter
jurisdiction. Alien claims that these articles prove that it is Intermec’s stated intent to sue all
infringers and that this alleged fact supports Alien’s purported apprehension of suit. This is
nonsense. As an initial point, none of the Korean articles Alien presented to this Court contain a
single statement either accusing Alien, or anyone else, of infringement or of voicing an intent to
sue anyone. There also is no evidence that these articles were ever read by anyone at Alien,
before or after suit was filed. There is only evidence that they were read by Alien’s attorney who
obtained them, presumably from the Internet, on October 5, 2006. See Declaration of Megan
LaBelle at ¥ 14. How can an article in Korean and addressing the Korean market, that doesn’t
contain a threat to sue anyone, have created in Alien an apprehension of an impending lawsuit
(let alone an objectively reasonable one) when Alien does not even claim to have read the
articles? The articles refer to the Korean market and Korean patents and not to the U.S. market
or any U.S. patents. The Korean market and Korean patents are not at issue in this case. Alien is
a U.S. manufacturer, not a Korean one, and the only patents-in-suit in this case are U.S. patents.
Further, these articles are inadmissible because they are and contain hearsay and are completely
irrelevant to Alien’s purported apprehension of suit.

Fifth, Alien takes the position that two letters sent to Alien in mid-2005 in relation to the
possible start of a discussion about licensing gave Alien an objectively reasonable apprehension
of suit in mid-2006. However, it is well settled that a patentee's offer of a license, without more,
is insufficient to establish the predicate for declaratory judgment jurisdiction. Phillips Plastics

Corp., 57 F.3d at 1053; Indium Corp., 781 F.2d at 883, cert. denied, 479 U.S. 820 (1986).

12
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 17 of 30

Intermec’s two letters do not make any accusation of infringement, they do not refer specifically
to any Alien product, nor do they implicate legal action at all. In fact, in the May 9, 2005 letter,
Intermec went as far as to assure Alien that, even after the close of the licensing program
discussed in the letters, Intermec would “continue to make available [its] standard ISO based
RAND (Reasonable and Non Discriminatory) licensing program for all manufacturers who are
interested and qualify.”

This limited and apparently one-sided communication evidenced by the two letters is
nothing like the communications that occurred in the cases relied upon by Alien, where certain
types of communications or a cessation of negotiations was held to give rise to an objectively
reasonable apprehension of suit. See EMC v. Norand Corp., 89 F.3d 807, 812 (Fed. Cir. 1996)
(defendant stated directly to plaintiff that it was inclined to ‘turn the matter over to’ [its]
litigation counsel ‘for action,’ and urged a ‘preliminary business discussion’”); Duratech Indus.
Int’l, Inc. v. Bridgeview Mfg., Inc., Case No. 3:05-CV-90-RSW (D.N.D. Apr. 21, 2006) (parties
had two face-to-face meetings and four phone calls, defendant asked plaintiff to stop production
of the infringing product and expressly discussed the “mounting liability if Duratech kept
manufacturing the BaleBuster without a license,” and the parties’ negotiations broke down after
defendant requested a $3.5 million license and plaintiff offered $100,000); Ivoclar Vivadent, Inc.
v. Hasel & ABCO Research LLC, No. 02cv0316, 2003 WL 21730520 (W.D.N.Y. June 30, 2003)
(offer of license expressly advised plaintiff “under 35 U.S.C. § 287 that [its products] infringe
one or more claims of [Defendant’s] U.S. Patent Nos. 5,547,379 and 5,944,527”). The two one-
sided licensing communications in this case bear no resemblance to the facts of Alien’s cited
cases. The purported license negotiation could not have broken down because it never got under

way. All that occurred was that Intermec, on two occasions, offered Alien an opportunity to talk

13
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 18 of 30

to Intermec about joining a licensing program. No correspondence or statement by Alien
apparently ever expressly rejected Intermec’s offers to talk and Intermec never expressly told
Alien that it could not apply for a license from Intermec at any time in the future. Of course,
neither of these communications accused Alien of infringement or threatened suit.

Finally, Alien posits that Intermec’s filing of a suit against Alien over a month after Alien
filed this suit could give rise to an objectively reasonable apprehension of suit. Intermec’s suit,
filed nearly one month after Alien initially filed its declaratory judgment complaint, could not
possibly serve as any basis for Alien’s purported objectively reasonable apprehension of suit on
the day it filed its Complaint. It is hornbook law that a declaratory judgment plaintiffs
apprehension of suit must derive from events that occur before suit is filed. West Interactive,
972 F.2d at 1297 (holding that “because this court examines [plaintiff's] declaratory judgment
action at the time of its filing, [defendant's] subsequent action is irrelevant”); see also Arrowhead
Indus. Water, Inc., 846 F.2d at 734 n. 2 (refusing to consider post-filing occurrences).

B. THE INTERMEC DEFENDANTS’ CONTACTS WITH NORTH DAKOTA ARE INSUFFICIENT TO
SUBJECT THEM TO PERSONAL JURISDICTION THERE.

Alien concedes that Intermec (a holding company) and IP (the owner of the patents and
a necessary party) have no cognizable contacts with North Dakota and are not subject, under any
traditional analysis, to personal jurisdiction there. Moreover, Alien concedes that no Intermec
Defendant has sold any product in North Dakota that reads on any of the claims of the patents-in-
suit in this matter. Faced with this lack of any real link between IIP, Intermec, and the patents-
in-suit on one hand and North Dakota on the other, Alien resorts to two strained theories in an
effort to find personal jurisdiction. Specifically, Alien attempts to convince this court that it
should ignore all the corporate formalities observed by the Intermec Defendants and decide that

it can exercise personal jurisdiction over Intermec and IIP based on the very limited contacts

14
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 19 of 30

with this jurisdiction of an affiliated company, ITC. Accordingly, Alien attempts to persuade
this Court that ITC’s activities in North Dakota — limited though they are — are adequate to bring
that company before this Court, thus ensnaring not only itself in this litigation, but also affiliated
companies that have no contacts with the state. Both of these arguments fail based on the law
and the facts of this case.

1. ALIEN CANNOT IGNORE CORPORATE FORMALITIES IN ITS EFFORT TO CONVINCE
THIS COURT TO EXERCISE PERSONAL JURISDICTION OVER INTERMEC AND ITIP.

IIP is the sole owner of the patents-in-suit in this case. It does no business in North
Dakota, has not licensed any North Dakota-based corporation to practice the patents-in-suit and
does not have an exclusive licensing arrangement with ITC which would permit this Court to
ignore the corporate formalities and subject IIP to personal jurisdiction here.

Other than the limited holding of the Dainippon case — which, as discussed below, is
inapplicable here — Alien does not present any law supporting its proposition that a parent
company’s activities in a forum can be imputed to its subsidiary companies where corporate
formalities are observed. In fact, the law supports just the opposite conclusion — a parent
company’s acts in a forum will not be imputed to its separately-operated subsidiary. See Walker
v. Newgent, 583 F.2d 163, 167-68 (Sth Cir. 1978), citing Canon Mfg. Co. v. Cudahy Packing
Co., 267 U.S. 333 (1925) (“[a] subsidiary corporation will not be regarded as the alter ego of its
parent because of stock ownership, a duplication of some or all of the directors or officers, or an
exercise of control that stock ownership gives to stockholders”).

This is not a case like Dainippon Screen Mfg. Co., Ltd. v. CFMT, Inc., where the court
determined that a patent-holding subsidiary could not avoid personal jurisdiction in its parent
company’s state of incorporation when the parent company made a threat to sue for patent

infringement in the forum state. 142 F.3d 1266, 1271. Initially, it is crucial to note that

15
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 20 of 30

Dainippon is a specific personal jurisdiction case. Jd. at 1270-71. There is no discussion of
whether the defendants could be subject to general personal jurisdiction, and the analysis in that
case focused on whether threats made by the parent in California could result in the exercise of
specific jurisdiction in California over its patent-owning subsidiary, who was incorporated
elsewhere. Jd. The court noted defendant’s chutzpah in attempting to create a situation where it
could “threaten its competitors with infringement without fear of being a declaratory judgment
defendant [even in its state of incorporation], save perhaps in the state of incorporation of the
[patent-]holding company.” Jd. at 1271.

That is not the situation here. The Intermec Defendants are challenging personal
jurisdiction in North Dakota, not Washington (the principal place of business for Intermec and
ITC and the location of the Intermec Defendants’ statements upon which Alien based its
purported objectively reasonable apprehension of suit), Nevada (the principal place of business
for IIP), Delaware (where Intermec, IIP, and Alien are incorporated), or California (Alien’s
principal place of business). There also is no question that, unlike the Dainippon case, this is not
a specific jurisdiction case — Alien admits as much — and IIP’s parent company is not trying to
avoid jurisdiction in its state of incorporation.

Further, the ruling in the Dainippon case also turned on the fact that defendants were
trying to avoid jurisdiction in a state where “the parent company operated under the patent [in
suit].” Jd.. at 1271. There is no dispute that ITC does not manufacture anything in North
Dakota, including RFID equipment that might embody the patents in suit. Nor is their any
question that ITC has never sold any RFID equipment to anyone in North Dakota.

Nor can Alien impute ITC’s scant contacts with North Dakota to Intermec, Inc. See

Canon, 267 U.S. at 337 (refusing to impute contacts on parent where the “corporate separation,

16
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 21 of 30

though perhaps merely formal, was real. It was not pure fiction.”); see also Epps v. Stewart Info.
Sves. Corp., 327 F.3d 642 (8th Cir. 2003) (“a corporation is not doing business in a state merely
by the presence of its wholly owned subsidiary”); Steinke v. Safeco Ins. Co., 270 F. Supp. 2d
1196 (D. Mont. 2003) (finding lack of personal jurisdiction where parent company had no
officers, offices, or business in Montana and the parent company and its wholly-owned
subsidiary maintained their formal separateness).

Intermec, ITC, and IIP all consistently recognize their formal separateness and all
corporate formalities. Each corporation has separate officers and directors. Though there is
some overlap in officers, it is minimal. Only one person holds an office in all three companies
(and he is not the CEO of any of them) and no individual serves as a director for more than one
of the companies.’ See Declaration of Megan LaBelle (“LaBelle Decl.”) at Exhibit D. TIP
maintains in Nevada a completely separate principal place of business. Declaration of Ken
Cohen (“Cohen Decl.”) at 9 15. All of the companies maintain their own by-laws and corporate
governance. See By-Laws for Intermec, ITC and IIP, attached to Kramer Decl. as Group Ex. B.
And, IIP licenses its patents to many non-affiliated companies, including ITC. See Excerpted
Transcript of the 30(b)(6) Deposition of Kenneth Cohen, attached to Kramer Decl. as Ex.C, at p.
59-60. Each company also has its own bank accounts. Jd. at p. 40. There is simply no evidence
in the record that the Intermec Defendants fail to recognize their separateness and all corporate
formalities. In the absence of such evidence, there is no basis for imputing ITC’s extremely

limited contacts with North Dakota to Intermec or IIP.

3 Alien references what it calls the Intermec Defendants’ “confusion” over the officers of its companies. Alien Opp.
at 24. This is nothing more than a case of a typo that was carried over from the Thomson Financial transcription of
Intermec’s May 8, 2006 conference call. In that transcript, Thomson incorrectly identified Mr. Winter as President
and COO of Intermec, Inc. The Intermec Defendants are not confused and, in their factual background, they
correctly identified Mr. Winter as the Senior Vice President of Intermec. This statement merely highlights that
Alien is grasping at straws to support its argument and attempting to seek a ruling of this Court based on a typo.

17
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 22 of 30

2. EVEN ASSUMING THIS COURT IMPUTES ITC’S CONTACT WITH THIS FORUM TO
INTERMEC AND ITP, THOSE CONTACTS ARE INADEQUATE TO ALLOW THE
EXERCISE OF PERSONAL JURISDICTION OVER ANY OF THE INTERMEC
DEFENDANTS.

In the absence of personal jurisdiction over IIP, there is no reason for this case to
proceed, as ITC does not own the patents-at-issue. Should this Court, however, choose to accept
that it is possible to extend personal jurisdiction to ITP based on ITC’s activities in North Dakota,
there are only three factual issues relevant to this Court’s determination of personal jurisdiction
over ITC: (1) ITC’s direct sales to companies in North Dakota; (2) ITC’s Certificate of Good
Standing in North Dakota;* and (3) ITC’s travel to North Dakota. The remaining issues raised
by Alien are nothing more than red herrings aimed at portraying ITC’s contacts with North
Dakota as greater than they actually are. See infra at §§ B.2.a. and b. Taking into account the
entirety of the relevant contacts, ITC’s contacts with the State of North Dakota are, at most,
random, sporadic, and attenuated, and cannot form a basis for this Court to exercise personal
jurisdiction over any of the Intermec Defendants.

Both parties agree, that personal jurisdiction is only proper if ITC’s contacts with North

Dakota are continuous and systematic enough to justify this Court’s exercise of general personal

* Alien correctly points out that, in his Declaration and at his 30(b)(6) deposition Ken Cohen stated that Intermec did
not have license to do business in the State of North Dakota. As Mr. Cohen explains in his Supplemental
Declaration, attached to Kramer Decl. at Exhibit D, he has reviewed the documents attached to the Declaration of
Sarah H. Herman (“Herman Decl.”) as Exhibits A, B, and C, and has determined that his testimony was the result of
a misunderstanding. It was Mr. Cohen’s understanding that a license to do business was a certificate filed in relation
to the filing of an income tax return in the State of North Dakota. He confirmed that none of the Intermec
Defendants had filed income tax returns in the State of North Dakota and, therefore, to Mr. Cohen’s understanding
at the time, there would have been no need to have a license to do business in that State. After reviewing the
documents attached to Ms. Herman’s declaration — documents which were not produced to the Intermec Defendants
or presented to Mr. Cohen at his deposition — he has been able to review the Intermec Defendants’ corporate records
and determine that ITC, and only ITC, has obtained a Certificate of Good Standing from the Secretary of State of
North Dakota and continues to keep that Certification current. Also, upon reviewing Intermec’s records and his
Declaration, Mr. Cohen noted that he had made a separate misstatement. Mr. Cohen stated that ITC has never filed
a tax return in North Dakota. Mr. Cohen intended to state that ITC had never filed an income tax return. As is
obvious from ITC’s invoices, ITC always charges customers for the sales and use tax in the state where the customer
is located. ITC collects North Dakota sales taxes and, on a quarterly basis, files sales and use tax returns and
provides to the State of North Dakota sales taxes that have been collected. Additionally, in order to keep ITC’s
Certificate of Good Standing in North Dakota current, ITC files Annual Reports.

18
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 23 of 30

jurisdiction. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985) (defendant must
purposefully avail itself of the privilege of conducting activities in the forums state); World-Wide
Volkswagen Corp. v. Woodson, 444 U.S. 286, 298 (1980). ITC’s contacts are not sufficient to
meet that test.

Initially, ITC’s sales in North Dakota cannot establish a basis for personal jurisdiction. In
the period from January 1, 2001 through December 31, 2005, ITC’s annual sales to customers
located in North Dakota averaged $257,635.18 per year.” In 2005, the year in which ITC had the
most sales to the State of North Dakota, ITC had only $241,315.77 of revenue from sales to
entities in North Dakota. Even in that largest year of sales, ITC’s sales to customers in North
Dakota totaled a paltry 0.0506% of domestic sales.° That is a miniscule portion of ITC’s sales
and does not provide adequate minimum contacts to justify this Court’s exercise of personal
jurisdiction over ITC.

Court’s cannot exercise personal jurisdiction over a defendant in a situation like this,
where sales to a forum are small and represent a minimal percentage of a party’s total sales.
Ensign v. Bank of Baker, 676 N.W.2d 786, 791-92 (N.D. 2004); Stairmaster Sports/Medical
Prods., Inc. v. Pacific Fitness Corp., 916 F. Supp. 1049, 1053 (W.D. Wash. 1994), aff'd 78 F.3d

602 (Fed. Cir. 1996);’ McGill Tech. Ltd. v. Gourmet Tech., Inc., et al., 300 F. Supp. 2d 501, 508

> Specifically, ITC’s sales in North Dakota for each year were as follows: 2001 - $304,173.60; 2002 - $285,980.79
2003 - $234,228.19; 2004 - $222,477.57; 2005 - $241,315.77; and through August 1, 2006 - $39,505.93. See
Kramer Decl., §{ 10-11, Group Exhibit E.

° For each year since 2001, ITC’s sales in North Dakota have represented the following percentages of total
domestic sales: 2001 - .0798 %; 2002 - .0770 %; 2003 — .0626%; 2004 - .0533%; and 2005 - .0506%. See
Declaration of David Maxwell, attached to Kramer Decl. at Ex. G; Kramer Decl. at Exs. E through F.

7 Alien attempts to distinguish Stairmaster Sports/Medical Prods., Inc., 916 F. Supp. at 1053 (W.D. Wash. 1994) by
stating that, in that case, personal jurisdiction was not based on “direct sales into the forum state.” Alien’s Opp. at p.
21 n. 13. That distinction is absurd and in direct opposition to Alien’s own argument that ITC could be found
subject to personal jurisdiction in this forum based on sales of independent third-party resellers.

19
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 24 of 30

(E.D. Mich. 2004), citing Hockerson-Halberstadt, Inc. v. Propet USA, Inc., 62 Fed. Appx. 322
(Fed. Cir. 2003). Though Alien argues that the constitutional test for personal jurisdiction would
change based on the population of the forum, no case stands for that proposition. Alien Opp. at
19-20. More strikingly, Alien’s citation to 3M Innovative Properties Co. v. InFocus Corp.,
No.Civ.04-0009 JNE/JGL, 2005 WL 361494 (D. Minn. Feb. 9, 2005) blatantly mischaracterizes
that case. That case involved an out-of-state defendants with $3.8 million in revenue in a single
year and $20 million in revenue over the previous five years — significantly higher than ITC’s
sales here. Id. at *3. In that case, the percentage of defendant’s revenue represented by sales in
the forum was more than ten times greater than here. Jd. Importantly that case makes no
mention of the proposition for which Alien cites it — that the size of the forum has any relevance
to the substantial nature of the contact. Jd. That is because the law does not support a sliding
scale approach based on the population of the forum.

ITC’s Certificate of Good Standing does nothing to establish personal jurisdiction in
North Dakota. While a license to do business is often mentioned in the caselaw, none of the
cases cited by Alien suggest that personal jurisdiction can based on such a license. The opposite
is true. Metropolitan Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560 (2d Cir. 1996) (does
not even mention a license to do business in the forum state while acknowledging the general
rule that a “mere license to do business and designation of agent for service of process within the
forum state [is] insufficient to confer general jurisdiction); Korzyk v. Swank Enterprises, Inc., No
CV-04-343-AAM, 2005 WL 1378758 (E.D. Wash. June 9, 2005) (relying on business done in
state, not merely defendant’s license to do business in forum). A license to do business signifies

nothing more than the fact that ITC has some sales in North Dakota. What matters for purposes

20
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 25 of 30

of personal jurisdiction is whether those sales are sufficient to provide the minimum contacts
necessary for personal jurisdiction. As discussed above, those sales are not enough.

Finally, Alien argues that personal jurisdiction can be established based on ITC’s
employees’ visits to North Dakota. Alien’s reticence to actually quantify the visits by ITC
employees to North Dakota reveals the weakness of this evidence. Over the course of five years,
from January 1, 2001 through August 1, 2006, a total of 9 ITC employees (out of a workforce of
2,600) traveled to North Dakota. See LaBelle Decl. 8. At least 5 of those employees all
traveled to North Dakota on a single project for a single customer and at least 2 of those
employees traveled to North Dakota on another project. See Excerpted 30(b)(6) Deposition of
Larry Comparone at 65-93, attached to Kramer Decl. as Ex. H; Excerpted 30(b)(6) Deposition of
Jeffrey Johnson at 24, attached to Kramer Decl. at Ex. I. Such limited travel to the state; travel
which is related to a minute portion of ITC’s revenue for the time period can not reasonably
subject ITC to personal jurisdiction in North Dakota. Moreover, ITC has never had an office in
North Dakota nor has any ITC employee ever resided there. Cohen Decl. at 425.

a. Sales by independent resellers cannot be a basis for personal
jurisdiction over ITC.

Contrary to Alien’s argument, Federal Courts do not routinely permit the exercise of
personal jurisdiction over a manufacturer based on independent re-sellers’ and/or distributors’
activities in the forum. See Jennings v. AC Hydraulic A/S, 383 F.3d 546, 551 (7th Cir. 2004)
(mere fact that defendant sold products to a distributor could not provide a basis for personal
jurisdiction where defendant did not control distributor); Bridgeport Music, Inc. v. Still N The
Water Pub., 327 F.2d 472, 480 (6th Cir. 2003) (knowledge that product might be distributed
nationally by third-party insufficient to predicate purposeful availment); Boit v. Gar-Tec Prod.,

Inc., 967 F.2d 671, 682 (1st Cir. 1992) (test is not knowledge of ultimate destination of the

21
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 26 of 30

product, but whether manufacturer has purposefully engaged in forum activities); Falkirk Mining
Co. v. Japan Steel Works, Ltd., 906 F.2d 369, 376 (8th Cir. 1990) (mere unilateral activity of
those who claim some relationship with a non-resident defendant cannot satisfy the requirement
of contact with the forum state).

Thus, the issue of whether any re-seller has sold products in North Dakota is irrelevant to
personal jurisdiction here.2 ITC does not dispute that it sells its product to resellers throughout
the country. ITC does not, however, exercise any control over those resellers. Declaration of
Chris Horne at {| 4, attached to Kramer Decl. at Ex. J. It does not own any of its re-sellers and
none of its re-sellers exclusively sell Intermec products. Jd. ITC does not limit the geographic
range of any re-seller, nor does it designate a specific region where any of its resellers operate.
Id. Thus, no reseller has been expressly directed to sell in ND. Jd. Contrary to Alien’s
unfounded assertions, ITC’s sales to its resellers and distributors are arms-length transactions
and the resellers and distributors are free to sell those products anywhere they choose. Id. at {ff

4-5.

8 In a footnote, Alien presses its argument that ITC can be subject to personal jurisdiction in North Dakota based on
the act of third parties. Alien Opp. at p. 20 n. 12. First, Alien suggests that simply because some of ITC’s
customers are large national chains such as Home Depot, Walmart, and PepsiCo, ITC can be hailed into court in
North Dakota if any of these companies happen to use ITC products in their stores in North Dakota, even though
ITC neither sold the product to a North Dakota based company or delivered it to North Dakota. Jd. Next, Alien
contends that the presence of an ITC product in use at a Home Depot store in Fargo can serve as a basis for the
exercise of general personal jurisdiction. Jd., citing Declaration of Glenn Gengel. Both of these arguments are
meritless — as Alien so much as admits by presenting them solely in a footnote. Just as is the case with resellers and
distributors, ITC cannot be drawn into a jurisdiction with which it does not have the requisite minimum contacts to
justify the exercise of personal jurisdiction based on the actions of customers. See infra at § B.2.a. Moreover, this
argument seek to confuse the distinction between specific and general personal jurisdiction in the manner which the
Supreme Court expressly rejected in World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 295, 312 (1980)
(“the fortuitous circumstance that a single [product of defendant] happened” to be present in the forum does not
provide a basis for personal jurisdiction). The mere presence of ITC’s product in a store in North Dakota does not
indicate any purposeful availment by ITC of the jurisdiction, nor does it indicate any intent to be present there. Id.
Thus, it provides no basis for the exercise of jurisdiction.

22
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 27 of 30

Alien alludes to a vast unknown number of sales to North Dakota by ITC’s resellers as a
basis for personal jurisdiction in North Dakota. As discussed above, sales by resellers are
irrelevant to the question of personal jurisdiction. To the extent this Court considers those sales,
however, no such unknown sales exist. Rather, all of ITC’s sales are represented by sales
through three channels: 1) direct sales; 2) direct resellers; and 3) stocking distributors (also
referred to as two-tier resellers). Horne Decl. at 3. The invoices produced in this matter reflect
all direct sales to North Dakota and nearly all sales by direct resellers. Jd. This is because direct
resellers nearly always have their customers’ orders “drop-shipped.” Jd. In this regard, direct
resellers generally contact ITC and order product to be shipped directly to their customers. Id.
These sales to the non-North Dakota resellers are generally recorded on invoices that have a bill-
to address outside of North Dakota, but a ship-to address in North Dakota. Jd. Finally, all sales
by ITC’s six (6) two-tier resellers are reported back to ITC indicating the zip code of the end user
who purchased the product.’ Thus, ITC has accounted for nearly all products that may have
reached end-users in North Dakota for the period from January 1, 2001 through August 1, 2006,
even if ITC did not sell the product to someone in North Dakota.

Even assuming there were a basis for this Court to consider any reseller’s sales, the
addition of those sales to ITC’s total sales revenue in North Dakota does not change the fact that

ITC lack contacts with North Dakota sufficient to establish personal jurisdiction. Including

> At the 30(b)(6) deposition of Larry Comparone, Mr. Comparone indicated that ITC may track the location of the
end-users for sales of some of its resellers. Comparone Dep. at 35-37. While Alien did not request that ITC obtain
this report and provide it to Alien, ITC has obtained a report of all sales by ITC’s two-tier resellers to addresses in
North Dakota. The report containing that information is attached as Exhibit A to the Declaration of Chris Horne
which is attached to the Kramer Decl. at Exhibit J. The report indicates that for the entire period from January 1,
2001 to present, ITC’s two-tiered reseller have only sold $171,709.11 worth of products and services to end-users in
North Dakota. Thus, aside from a minute fraction of direct reseller sales, ITC has tracked all of its products that
reached end-users in North Dakota for the period from January 1, 2001 through August 1, 2006 and the total is
$342,011.84 for 2001, $325,946.10 for 2002, $332,348.00 for 2003, $431,136.98 for 2004, $501,086.04 for 2005,
and $297,124.11 for the period from January 1, 2006 through August 1, 2006. See id; Kramer Decl. at Ex. E and F;
Maxwell Decl. at Ex. A.

23
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 28 of 30

reseller sales to North Dakota, the combination of resellers’ sales and ITC’s sales to customers in
North Dakota during the period from January 1, 2001 through December 31, 2005 averages
approximately $386,505.79 per year. That represents .0956% of ITC’s domestic sales. Taking
into account both the amount of revenue from North Dakota customers and the percent of ITC’s
revenue that such revenue amounts to, this is still an insufficient amount of sales to justify the
exercise of personal jurisdiction. Ensign, 676 N.W.2d at 791-92; Stairmaster, 916 F. Supp. at
1053; McGill, 300 F. Supp. 2d at 508.

b. ITC’s Former Relationship with Microsoft Business Solutions
is Irrelevant.

Alien’s self-perceived ace-in-the-hole argument is that ITC can be subject to general
personal jurisdiction in North Dakota because it formerly maintained a business relationship with
Microsoft Business Solutions (“MBS”), a Minnesota Corporation that is a subsidiary of
Microsoft of Redmond, Washington. Legally, this relationship has no bearing on the issue of
general jurisdiction. Alien cites one case to support its position — Black & Veatch Const., Inc. v.
ABB Generation, Inc., 123 F. Supp. 2d 569, 576 (D. Kan 2000). That case is completely
inapposite. Black & Veatch is a specific jurisdiction case. It found that a party to a consortium
agreement was subject to specific personal jurisdiction because the case arose out of a claim for
breach of that same agreement. In fact, the Court in that case noted that “[e]stablishing a
contractual relationship with a resident of Kansas does not itself, however, establish minimum
contacts with Kansas.” Jd. at 574.

Further, when the facts about the MBS relationship are examined, it is clear that the
relationship does not provide any additional contacts with North Dakota sufficient to establish

personal jurisdiction over ITC. MBS, which does have some operations in Fargo, North Dakota,

24
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 29 of 30

did almost nothing with regard to the relationship. Johnson Dep. at 80. ITC designed a product
that was intended to be used with MBS’s product. Id. at 83-4. The product was called EasyADC
and it was designed by Intermec in cooperation with an Ann Arbor, Michigan-based company
who had been a “partner” of ITC before ITC ever had contact with MBS. Id. Once the product
was designed, the only contact person from Microsoft that ITC worked with was a marketing
representative located in Florida. Jd. at 83. MBS’s North Dakota-based employees provided
absolutely no support for the product and ITC ultimately sold a total of 9 units of the EasyADC
product. Id. None of the products were sold to anyone in North Dakota. Jd. Due to lackluster
performance and the lack of support from MBS, the product offering was discontinued by early
2006 and the relationship with MBS ended before this suit was brought. Jd. at 15. In the end,
there almost was no relationship between ITC and MBS and certainly not enough of a
relationship to provide a basis for general personal jurisdiction in North Dakota.

C. SINCE ALIEN’S COMPLAINT FAILED TO IDENTIFY SPECIFIC PRODUCTS THAT ALIEN

BELIEVES ARE ACCUSED OF HAVING INFRINGED JIP’S PATENTS, ALIEN’S
COMPLAINT MUST BE DISMISSED PURSUANT TO RULE 8(A).

The Intermec Defendants rely on their argument, set forth in their Memorandum in
Support of Their Motion to Dismiss, that Alien’s Amended Complaint should be dismissed for
failure to comply with Fed.R.Civ.P. 8. Alien’s request to replead in the event this Court agrees
that the Complaint is defective should be denied on the grounds that this Court does not have
subject matter jurisdiction or personal jurisdiction over the Intermec Defendants.

CONCLUSION
For the foregoing reasons, Intermec, Inc., Intermec Technologies Corp., and Intermec IP

Corp., respectfully request that this Court grant the Intermec Defendants’ Motion to Dismiss.

25
Case 3:06-cv-00051-PDW-ARS Document 53 Filed 10/20/06 Page 30 of 30

Dated: October 20, 2006

Respectfully Submitted,
INTERMEC, INC., INTERMEC TECHNOLOGIES
CORP., and INTERMEC IP CORP,

By:  /s/ Ronald H. McLean
One of Its Attorneys

Ronald H. McLean
Jane L. Dynes
SERKLAND LAW FIRM
10 Roberts Street

P.O. Box 6017

Fargo, ND 58108-6107
(701) 232-8957 phone
(701) 237-4049 fax

and

Carson P. Veach

Leland W. Hutchinson, Jr.

David S. Becker

Jacob D. Koering

FREEBORN & PETERS LLP

3118S. Wacker Drive, Suite 3000
Chicago, Illinois 60606

(312) 360-6000 phone

(312) 360-6595 fax

26
